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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

    In re:                                                             Chapter 11

    ATHENEX, INC., et al.,                                             Case No. 23-90295 (DRJ)

                                      Debtors. 1                       (Joint Administration Requested)

    DEBTORS’ EMERGENCY EX PARTE APPLICATION FOR ENTRY OF AN ORDER
    AUTHORIZING THE EMPLOYMENT AND RETENTION OF EPIQ CORPORATE
    RESTRUCTURING, LLC AS CLAIMS, NOTICING, AND SOLICITATION AGENT

       Emergency relief has been requested. Relief is requested not later than May 16,
       2023.
       If you object to the relief requested or you believe that emergency consideration is
       not warranted, you must appear at the hearing if one is set or file a written response
       prior to the date that relief is requested in the preceding paragraph. Otherwise, the
       Court may treat the pleading as unopposed and grant the relief requested.

             The Debtors file this emergency ex parte application to employ a claims, noticing, and

solicitation agent (the “Application”):

                                                 Relief Requested

             1.     The Debtors seek entry of an order authorizing the Debtors to employ Epiq

Corporate Restructuring, LLC (“Agent”) as claims, noticing, and solicitation agent (in such

capacity, the “Claims and Noticing Agent”) in accordance with the terms and conditions set forth

in the engagement letter, dated May 5, 2023 (the “Engagement Letter”), attached as Exhibit A.

The Application is supported by the Declaration of Kate Mailloux in Support of Debtors’

Emergency Ex Parte Application for Entry of an Order Authorizing the Employment and Retention




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      A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://dm.epiq11.com/athenex. The location of Athenex, Inc.’s principal
      place of business and the Debtors’ service address in these Chapter 11 Cases is 1001 Main Street, Suite 600,
      Buffalo, NY 14203.


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of Epiq Corporate Restructuring, LLC as Claims, Noticing, and Solicitation Agent attached as

Exhibit B (the “Mailloux Declaration”).

        2.       Emergency consideration of this Application is requested to effectuate the Debtors’

transition into bankruptcy and immediately to begin providing effective notice of pleadings and

orders to interested parties.

                                      Jurisdiction and Venue

        3.       The United States Bankruptcy Court for the Southern District of Texas

(the “Court”) has jurisdiction over this Application pursuant to 28 U.S.C. § 1334.

        4.       This is a core proceeding pursuant to 28 U.S.C. § 157(b).

        5.       Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                                     Request to Employ Agent

        6.       The Debtors request approval to employ Agent to serve as Claims and Noticing

Agent in their chapter 11 cases (the “Chapter 11 Cases”) to provide the services outlined in the

Engagement Letter. The Debtors believe that Agent’s employment is in the best interest of

their estates.

        7.       The Agent’s rates are competitive and reasonable. The Agent has the expertise

required in a complex chapter 11 case.

        8.       The Debtors request that this Court authorize Agent’s employment.

                                           Compensation

        9.       The Debtors request that Agent’s fees and expenses be paid as an administrative

expense in the ordinary course of the Debtors’ businesses without further application or order of

the Court. Should a dispute develop, the matter will be brought to the Court for resolution. Agent




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agrees to maintain records of all services showing dates, categories of services, fees charged, and

expenses incurred.

        10.      Agent will provide a monthly invoice to the Debtors, Debtors’ counsel, the U.S.

Trustee, counsel for any official committee, and any party in interest who specifically requests

service of the monthly invoices.

        11.      Prior to the Petition Date, the Debtors provided Agent an advance in the amount of

$25,000.00. Agent will apply these funds in accordance with the Engagement Letter.

                                          Indemnification

        12.      The Debtors have agreed to indemnify Agent as set forth in the Engagement Letter.

Notwithstanding anything to the contrary, Agent will not be indemnified for liability arising out

of gross negligence, willful misconduct, and certain other matters identified in the proposed order.

                                         Disinterestedness

        13.      Agent has reviewed its conflicts system to determine whether it has any

relationships with the Debtors’ creditors and parties in interest. Except as disclosed in the Mailloux

Declaration, Agent represents that it neither holds nor represents any interest materially adverse to

the Debtors’ estates in connection with any matter on which it would be employed. To the best of

the Debtors’ knowledge, Agent is a “disinterested person” as that term is defined in section 101(14)

of the Bankruptcy Code, as modified by section 1107(b) of the Bankruptcy Code. Agent agrees

that it will supplement its disclosure to the Court if any facts or circumstances are discovered that

would require such additional disclosure.




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        14.      The Debtors request that the Court grant the relief requested in this Application.

 Dated: May 14, 2023                               ATHENEX, INC., et al.


                                                   By: /s/ Nicholas K. Campbell
                                                       Nicholas K. Campbell, Chief Restructuring
                                                       Officer, solely in his capacity as Chief
                                                       Restructuring Officer and not in any individual
                                                       capacity




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                                       Certificate of Service

                 This Application is being filed ex parte. Service will only occur by notice on the

Court’s CM/ECF system.

                                                      /s/ Michael D. Warner
                                                      Michael D. Warner




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                                     Exhibit A

                                 Engagement Letter




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                EPIQ CORPORATE RESTRUCTURING
                             STANDARD SERVICES AGREEMENT

This Standard Services Agreement is being entered into by and between the undersigned parties, referred
to herein as “Epiq” and “Client” as of the Effective Date, as defined below. In consideration of the
premises herein contained and of other good and valuable consideration, the receipt and sufficiency of
which are hereby acknowledged, the parties hereto agree as follows:

                               General Terms and Conditions

1. Services.

In accordance with the charges, terms and conditions contained in this agreement and in the schedule(s)
attached hereto (collectively, the “Agreement”), Epiq agrees to furnish Client with the services set forth
on the Services Schedule hereto (the “Services”) in connection with a corporate restructuring. Services
will be provided on an as needed basis and upon request or agreement of Client. Charges for the Services
will be based on the pricing schedule provided to Client hereto (the “Pricing Schedule”). The Pricing
Schedule sets forth individual unit pricing for each of the Services provided by Epiq and represents a
bona fide proposal for that Service. Client may request separate Services or all of the Services
reflected in the Pricing Schedule.

2. Term.

This Agreement shall become effective on the date of its acceptance by both Epiq and Client; provided,
however, Epiq acknowledges that Bankruptcy Court approval of its engagement may be required in
order for Epiq to be engaged in a chapter 11 proceeding. The Agreement shall remain in effect until
terminated: (a) by Client, on thirty (30) days’ prior written notice to Epiq and, to the extent Epiq has
been retained by Bankruptcy Court order, entry of an order of the Bankruptcy Court discharging Epiq;
or (b) by Epiq, on ninety (90) days’ prior written notice to Client and, to the extent Epiq has been retained
by Bankruptcy Court order, entry of an order of the Bankruptcy Court discharging Epiq.

3. Charges.

3.1   For the Services and materials furnished by Epiq under this Agreement, Client shall pay the fees,
      charges and costs set forth in the Pricing Schedule subject to any previously agreed upon discount
      if applicable. Epiq will bill Client monthly. All invoices shall be due and payable upon receipt.

3.2   Epiq reserves the right to make reasonable increases to the unit prices, charges and professional
      service rates reflected in the Pricing Schedule on an annual basis effective January 2, 2024. If such
      annual increases exceed 10% from the prior year’s level, Epiq shall provide sixty (60) days’ prior
      written notice to Client of such proposed increases.



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3.3   Client agrees to pay Epiq for all materials necessary for performance of the Services under this
      Agreement (other than computer hardware and software) and any reasonable out of pocket
      expenses including, without limitation, transportation, long distance communications, printing,
      photocopying, fax, postage and related items.

3.4   Client shall pay or reimburse all taxes applicable to services performed under this Agreement and,
      specifically, taxes based on disbursements made on behalf of Client, notwithstanding how such
      taxes may be designated, levied or based. This provision is intended to include sales, use and
      excise taxes, among other taxes, but is not intended to include personal property taxes or taxes
      based on net income of Epiq.

3.5   Client shall pay to Epiq any actual charges (including fees, costs and expenses as set forth in the
      Pricing Schedule) related to, arising out of or resulting from any Client error or omission. Such
      charges may include, without limitation, print or copy re-runs, supplies, long distance phone calls,
      travel expenses and overtime expenses for work chargeable at the rates set forth on the Pricing
      Schedule.

3.6   In the event of termination pursuant to Section 2 hereof, Client shall be liable for all amounts then
      accrued and/or due and owing to Epiq under the Agreement.

3.7   To the extent permitted by applicable law, Epiq shall receive a retainer in the amount of $25,000
      (the “Retainer”) that may be held by Epiq as security for Client’s payment obligations under the
      Agreement. The Retainer is due upon execution of this Agreement. Epiq shall be entitled to hold
      the Retainer until the termination of the Agreement. Following termination of the Agreement,
      Epiq shall return to Client any amount of the Retainer that remains following application of the
      Retainer to the payment of unpaid invoices.

4. Confidentiality.

Client data provided to Epiq during the term of this Agreement in connection with the Services (“Client
Data”) shall be maintained confidentially by Epiq in the same manner and to the same level as Epiq
safeguards data relating to its own business; provided, however, that if Client Data is publicly available,
was already in Epiq’s possession or known to it, was required to be disclosed by law, was independently
developed by Epiq without use or reference to any Client Data, or was rightfully obtained by Epiq from
a third party, Epiq shall bear no responsibility for public disclosure of such data. Client agrees that Epiq
shall not be liable for damages or losses of any nature whatsoever arising out of the unauthorized
acquisition or use of any Client Data or other Client materials provided to Epiq in the performance of
this Agreement.




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5. Title to Property.

Epiq reserves all property rights in and to all materials, concepts, creations, inventions, works of
authorship, improvements, designs, innovations, ideas, discoveries, know-how, techniques, programs,
systems and other information, including, without limitation, data processing programs, specifications,
applications, processes, routines, sub-routines, procedural manuals and documentation furnished or
developed by Epiq for itself or for use by Client (collectively, the “Property”). Charges paid by Client
do not vest in Client any rights to the Property, it being expressly understood that the Property is made
available to Client under this Agreement solely for Client's use during and in connection with each use
of the Epiq equipment and services. Client agrees not to copy or permit others to copy any of the
Property.

6. Disposition of Data.

6.1   Client is responsible for the accuracy of the programs and Client Data it provides or gives access
      to Epiq and for the output resulting from such data. Client shall initiate and maintain backup files
      that would allow Client to regenerate or duplicate all programs and Client Data which Client
      provides or gives access to Epiq. Client agrees, represents and warrants to Epiq that, prior to
      delivery of any Client Data to Epiq, it has full authority to deliver Client Data to Epiq. Client
      agrees, represents and warrants to Epiq that it has obtained binding consents, permits, licenses and
      approvals from all necessary persons, authorities or individuals, and has complied with all
      applicable policies, regulations and laws, required by Client, in order to allow Epiq to use all Client
      Data delivered to it in connection with its Services. Epiq shall not be liable for, and Client accepts
      full responsibility for, any liability or obligation with respect to Client Data prior to Epiq’s receipt,
      including without limitation, any liability arising during the delivery of Client Data to Epiq.

6.2   Any Client Data, programs, storage media or other materials furnished by Client to Epiq in
      connection with this Agreement (collectively, the “Client Materials”) may be retained by Epiq
      until the services provided pursuant to this Agreement are paid for in full, or until this Agreement
      is terminated with the services provided herein having been paid for in full. Client shall remain
      liable for all out of pocket charges incurred by Epiq under this Agreement as a result of any Client
      Materials maintained by Epiq. Epiq shall dispose of Client Materials in the manner requested by
      Client (except to the extent disposal may be prohibited by law). Client agrees to pay Epiq for
      reasonable expenses incurred as a result of the disposition of Client Materials. Epiq reserves the
      right to dispose of any Client Materials if this Agreement is terminated without Client’s direction
      as to the return or disposal of Client Materials or Client has not paid all charges due to Epiq for a
      period of at least ninety (90) days; provided, however, Epiq shall provide Client with thirty (30)
      days’ prior written notice of its intent to dispose of such data and media.

7. Indemnification.

Client shall indemnify, defend and hold Epiq, its affiliates, parent, and each such entity’s officers,
members, directors, agents, representatives, managers, consultants and employees (each an
“Indemnified Person”) harmless from and against any and all losses, claims, damages, liabilities, costs


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(including, without limitation, costs of preparation and attorneys’ fees) and expenses as incurred
(collectively, “Losses”), to which any Indemnified Person may become subject or involved in any
capacity arising out of or relating to this Agreement or Epiq’s rendering of services pursuant hereto,
regardless of whether any of such Indemnified Persons is a party thereto, other than Losses resulting
solely from Epiq’s gross negligence or willful misconduct. Without limiting the generality of the
foregoing, “Losses” includes any liabilities resulting from claims by third persons against any
Indemnified Person. Client and Epiq shall notify the other party in writing promptly of the
commencement, institution, threat, or assertion of any claim, action or proceeding of which Client is
aware with respect to the services provided by Epiq under this Agreement. Such indemnity shall remain
in full force and effect regardless of any investigation made by or on behalf of Client, and shall survive
the termination of this Agreement until the expiration of all applicable statutes of limitation with respect
to Epiq’s liabilities.

8. Limitation of Liability

NOTWITHSTANDING ANYTHING TO THE CONTRARY IN THIS AGREEMENT, THIS
SECTION SHALL CONTROL.
   (a) EACH PARTY AND ITS RESPECTIVE AGENTS SHALL NOT HAVE ANY
OBLIGATION OR LIABILITY TO THE OTHER PARTY OR TO ANY THIRD PARTY
(WHETHER IN TORT, EQUITY, CONTRACT, WARRANTY OR OTHERWISE AND
NOTWITHSTANDING ANY FAULT, NEGLIGENCE, PRODUCT LIABILITY, OR STRICT
LIABILITY IN ACCORDANCE WITH APPLICABLE LAW, RULE OR REGULATION) FOR
ANY INDIRECT, GENERAL, PUNITIVE, INCIDENTAL, SPECIAL, OR CONSEQUENTIAL
DAMAGES, INCLUDING BUT NOT LIMITED TO BUSINESS INTERRUPTION, LOST
WAGES, BUSINESS OR PROFITS, OR LOSS OF DATA INCURRED BY CLIENT OR ANY
OTHER PERSON, ARISING OUT OF RELATING TO THIS AGREEMENT, OR ANY USE,
INABILITY TO USE OR RESULTS OF USE OF THE SERVICES OR SOFTWARE OR
OTHERWISE, EVEN IF SUCH PARTY WAS ADVISED OF THE POSSIBILITY OF SUCH
DAMAGES.
  (b) EPIQ SHALL NOT BE LIABLE TO CLIENT FOR ANY LOSSES REGARDLESS OF
THEIR NATURE THAT ARE CAUSED BY OR RELATED TO A FORCE MAJEURE EVENT.
   (c) THE TOTAL LIABILITY OF EACH PARTY AND ITS AGENTS TO THE OTHER
PARTY OR TO ANY THIRD PARTY FOR ALL LOSSES ARISING OUT OF OR RELATING
TO THIS AGREEMENT, OR THE SERVICES SHALL NOT EXCEED THE TOTAL AMOUNT
PAID BY THE CLIENT TO EPIQ FOR THE PARTICULAR SERVICES WHICH GAVE RISE
TO THE LOSSES IN THE IMMEDIATE SIX (6) MONTHS PRIOR TO THE DATE OF THE
ACTION GIVING RISE TO THE ALLEGED LOSS.




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9. Representations / Warranties.

Epiq makes no representations or warranties, express or implied, including, without limitation, any
implied or express warranty of merchantability, suitability, fitness or adequacy for a particular purpose
or use, quality, productiveness or capacity.

10. Confidential On-Line Workspace

Upon request of Client, Epiq shall be authorized to: (a) establish a confidential on-line workspace with
an outside vendor in connection with the provision of its services to Client pursuant to this Agreement;
and (b) with the consent of Client and/or its designees, publish documents and other information to such
confidential workspace. By publishing documents and other information to this confidential workspace
in accordance with the foregoing, Epiq shall not be considered in violation of any of the provisions of
this Agreement, including, but not limited to, Section 4 (Confidentiality).

11. General

11.1 No waiver, alteration, amendment or modification of any of the provisions of this Agreement shall
     be binding upon either party unless signed in writing by a duly authorized representative of both
     parties.

11.2 This Agreement may not be assigned by Client without the express written consent of Epiq, which
     consent shall not be unreasonably withheld. The services provided under this Agreement are for
     the sole benefit and use of Client, and shall not be made available to any other persons.

11.3 This Agreement shall be governed by the laws of the State of New York, without regard to that
     state’s provisions for choice of law. Client and Epiq agree that any controversy or claim arising
     out of or relating to this Agreement or the alleged breach thereof shall be settled by mandatory,
     final and binding arbitration before the American Arbitration Association in New York, New York
     and such arbitration shall comply with and be governed by the rules of the American Arbitration
     Association, provided that each party may seek interim relief in court as it deems necessary to
     protect its confidential information and intellectual property rights. Any arbitration award
     rendered pursuant to this provision shall be enforceable worldwide.

11.4 The parties hereto agree that this Agreement is the complete and exclusive statement of the
     agreement between the parties which supersedes all proposals or prior agreements, oral or written,
     and all other communications between the parties relating to the subject matter of this Agreement.

11.5 Client will use its best efforts to cooperate with Epiq at Client’s facilities if any portion of the
     Services requires its physical presence thereon.

11.6 In no event shall Epiq’s Services constitute or contain legal advice or opinion, and neither Epiq
     nor its personnel shall be deemed to practice law hereunder.



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11.7 Except for Client’s obligation to pay fees, expenses and charges hereunder when due, neither party
     shall be in default or otherwise liable for any delay in or failure of its performance under this
     Agreement to the extent such delay or failure arises by reason of any act of God, any governmental
     requirement, act of terrorism, riots, epidemics, flood, strike, lock-out, industrial or transportational
     disturbance, fire, lack of materials, war, event of force majeure, or other acts beyond the reasonable
     control of a performing party.

11.8 This Agreement may be executed in counterparts, each of which shall be deemed to be an original,
     but all of which shall constitute one and the same agreement.

11.9 All clauses and covenants in this Agreement are severable; in the event any or part of them are
     held invalid or unenforceable by any court, such clauses or covenants shall be valid and enforced
     to the fullest extent available, and this Agreement will be interpreted as if such invalid or
     unenforceable clauses or covenants were not contained herein. The parties are independent
     contractors and, except as expressly stated herein, neither party shall have any rights, power or
     authority to act or create an obligation on behalf of the other party.




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11.10 Notices to be given or submitted by either party to the other, pursuant to this Agreement, shall
      be sufficiently given or made if given or made in writing and sent by hand delivery, overnight or
      certified mail, postage prepaid, and addressed as follows:

                  If to Epiq:
                                  Epiq Corporate Restructuring, LLC
                                  777 Third Avenue, 12th Floor
                                  New York, New York 10017
                                  Attn: Brad Tuttle

                  If to Client:
                                  Athenex, Inc.
                                  1001 Main Street, Suite 600
                                  Buffalo, New York 14203
                                  Attn: Nick Campbell, Chief Restructuring Officer

                  With a copy to:

                                  Pachulski Stang Ziehl & Jones
                                  10100 Santa Monica Blvd., 13th Floor
                                  Los Angeles, CA 90067-4003
                                  Attn: Shirley S. Cho

                                  919 North Market Street, 17th Floor
                                  Wilmington, DE 19801
                                  Attn: James E. O’Neill

                                  One Sansome Street, Suite 3430
                                  San Francisco, CA 94104
                                  Attn: Debra Grassgreen

11.11 Invoices sent to Client should be delivered to the following address:

                                  Athenex, Inc.
                                  1001 Main Street, Suite 600
                                  Buffalo, New York 14203
                                  Attn: Nick Campbell, Chief Restructuring Officer

                  Email:          nick@wearemeru.com




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                  With a copy to:

                                Pachulski Stang Ziehl & Jones
                                10100 Santa Monica Blvd., 13th Floor
                                Los Angeles, CA 90067-4003
                                Attn: Shirley S. Cho
                                scho@pszjlaw.com

                                919 North Market Street, 17th Floor
                                Wilmington, DE 19801
                                Attn: James E. O’Neill
                                joneill@pszjlaw.com

                                One Sansome Street, Suite 3430
                                San Francisco, CA 94104
                                Attn: Debra Grassgreen
                                dgrassgreen@pszjlaw.com

11.12 The “Effective Date” of this Agreement is May 5, 2023.




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IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of the date first above
written.

EPIQ CORPORATE RESTRUCTURING, LLC




____________________________
Name: Brad Tuttle
Title: General Manager


ATHENEX, INC., ET AL



By:_______________________________________
Name: Nick Campbell
Title: Chief Restructuring Officer




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                                   SERVICES SCHEDULE

SCHEDULES/STATEMENT PREPARATION
 Assist the Debtors with administrative tasks in the preparation of their bankruptcy Schedules of
  Assets and Liabilities (“Schedules”) and Statements of Financial Affairs (“Statements”),
  including (as needed):

    •    Coordinate with the Client and its advisors regarding the Schedules and Statements
         process, requirements, timelines and deliverables.
    •    Create and maintain databases for maintenance and formatting of Schedules and
         Statements data.
    •    Coordinate collection of data from Client and advisors.
    •    Provide data entry and quality assurance assistance regarding Schedules and Statements,
         including, specifically, the creation of Schedule G.


CLAIMS MANAGEMENT
 Maintain copies of all proofs of claim and proofs of interest filed (in hard copy and electronic
  form).

 Provide a secure on-line tool through which creditors can file proofs of claim and related
  documentation, eliminating costly manual intake, processing and data entry of paper claims
  and ensuring maximum efficiency in the claim-filing process.

 Create and maintain electronic databases for creditor/party in interest information provided by
  the debtor (e.g., creditor matrix and Schedules of Statements of Assets and Liabilities) and
  creditors/parties in interest (e.g., proof of claim/interests).

 Process all proof of claim/interest submitted.

 Provide access to the public for examination of copies of the proofs of claim or interest
  without charge during regular business hours.

 Maintain official claims registers, including, among other things, the following information
  for each proof of claim or proof of interest:

    •    Name and address of the claimant and any agent thereof, if the proof of claim or proof of
         interest was filed by an agent;
    •    Date received;
    •    Claim number assigned; and
    •    Asserted amount and classification of the claim.




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 Create and maintain a website with general case information, key documents, claim search
  function, and mirror of ECF case docket.

 Transmit to the Clerk’s office a copy of the claims registers on a monthly basis, unless
  requested by the Clerk’s office on a more or less frequent basis or, in the alternative, make
  available the claims register on-line.

 Implement necessary security measures to ensure the completeness and integrity of the claims
  registers.

 Record all transfers of claims pursuant to Bankruptcy Rule 3001(e) and provide notice of such
  transfers as required by Bankruptcy Rule 3001(e).

 Maintain an up-to-date mailing list for all entities that have filed a proof of claim, proof of
  interest or notice of appearance, which list shall be available upon request of a party in interest
  or the Clerk’s office.


NOTICING
 Prepare and serve required notices in these Chapter 11 cases, including:

    •    Notice of the commencement of these Chapter 11 cases and the initial meeting of creditors
         under section 341(a) of the Bankruptcy Code;

    •    Notice of any auction sale hearing;

    •    Notice of the claims bar date;

    •    Notice of objection to claims;

    •    Notice of any hearings on a disclosure statement and confirmation of the plan of
         reorganization; and

    •    Other miscellaneous notices to any entities, as the debtor or the Court may deem necessary
         or appropriate for an orderly administration of these Chapter 11 cases.

 After service of a particular notice - whether by regular mail, overnight or hand delivery,
  email or facsimile service - file with the Clerk’s office an affidavit of service that includes a
  copy of the notice involved, a list of persons to whom the notice was mailed and the date and
  manner of mailing.

 Update claim database to reflect undeliverable or changed addresses.




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 Coordinate publication of certain notices in periodicals and other media.

 Distribute Claim Acknowledgement Cards to creditor having filed a proof of claim/interest.


BALLOTING/TABULATION
 Provide balloting services in connection with the solicitation process for any chapter 11 plan
  for which a disclosure statement has been approved by the court, including (as needed):

    •    Consult with Client and its counsel regarding timing issues, voting and tabulation
         procedures, and documents needed for the vote.

    •    Review of voting-related sections of the voting procedures motion, disclosure statement
         and ballots for procedural and timing issues.

    •    Assist in obtaining information regarding members of voting classes, including lists of
         holders of bonds from DTC and other entities (and, if needed, assist Client in requesting
         these listings).

    •    Coordinate distribution of solicitation documents.

    •    Respond to requests for documents from parties in interest, including brokerage firm and
         bank back-offices and institutional holders.

    •    Respond to telephone inquiries from lenders, bondholders and nominees regarding the
         disclosure statement and the voting procedures.

    •    Receive and examine all ballots and master ballots cast by voting parties. Date- stamp the
         originals of all such ballots and master ballots upon receipt.

    •    Tabulate all ballots and master ballots received prior to the voting deadline in accordance
         with established procedures, and prepare a certification for filing with the court.

    •    Undertake such other duties as may be requested by the Client.

CALL CENTER
 Provide state-of-the-art Call Center facility and services, including (as needed):

    •    Create frequently asked questions, call scripts, escalation procedures and call log formats.
    •    Record automated messaging.
    •    Train Call Center staff.
    •    Maintain and transmit call log to Client and advisors.



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MISCELLANEOUS
 Provide such other claims processing, noticing and related administrative services as may be
  requested from time to time by the Client.

 Promptly comply with such further conditions and requirements as the Court may at any time
  prescribe.

 Comply with applicable federal, state, municipal, and local statutes, ordinances, rules,
  regulations, orders and other requirements.

   Provide temporary employees to the Clerk’s Office to process claims, as necessary.




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                                         PRICING SCHEDULE

CLAIM ADMINISTRATION HOURLY RATES
    Title                                                     Rates
    IT / Programming                                          $55.00 – $72.00
    Project Managers/Consultants/ Directors                   $75.00 – $175.00
    Solicitation Consultant                                   $175.00
    Executive Vice President, Solicitation                    $195.00
    Executives                                                No Charge


CLAIMS AND NOTICING RATES 1
    Printing                                                  $0.10 per image
    Personalization / Labels                                  WAIVED
    Envelopes                                                 VARIES BY SIZE
    Postage / Overnight Delivery                              AT COST AT PREFERRED RATES
    E-Mail Noticing                                           WAIVED FOR MSL*
    Fax Noticing                                              $0.05 per page
    Claim Acknowledgement Letter                              $0.05 per letter
    Publication Noticing                                      Quoted at time of request

DATA MANAGEMENT RATES
Creditor/Data Records, Maintenance & Security                 $0.10 per record/month
Electronic Imaging                                            $0.10 per image; no monthly storage charge

Website Hosting Fee                                           NO CHARGE
CD- ROM (Mass Document Storage)                               Quoted at time of request


ON-LINE CLAIM FILING SERVICES
On-Line Claim Filing                                          NO CHARGE


CALL CENTER RATES


1
   Noticing via overnight delivery after traditional overnight drop-off times (e.g., 9:00 p.m. in NYC) may result in
   additional print charges.
*Quoted at time of request for high volume blasts to all creditors



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    Standard Call Center Setup                       NO CHARGE

    Call Center Operator                             $55 per hour
    Voice Recorded Message                           $0.34 per minute


OTHER SERVICES RATES
    Custom Software, Workflow
    and Review Resources                             Quoted at time of request

    Strategic Communication Services                 Quoted at time of request

    Escrow Services                                  Quoted at time of request /competitive rates

    Securities Exchange / ATOP Event                 Quoted at time of request

    eDiscovery                                       Quoted at time of request, bundled pricing available

    Virtual Data Room --
    Confidential On-Line Workspace                   Quoted at time of request

    Disbursements -- Check and/or Form 1099          Quoted at time of request

    Disbursements -- Record to Transfer Agent        Quoted at time of request




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                                     Exhibit B

                                Mailloux Declaration




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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                        Chapter 11
    In re:

    ATHENEX, INC., et al.,                                              Case No. 23-90295 (DRJ)

                                       Debtors. 1                       (Joint Administration Requested)


          DECLARATION OF KATE MAILLOUX IN SUPPORT OF DEBTORS’
         EMERGENCY EX PARTE APPLICATION FOR ENTRY OF AN ORDER
     AUTHORIZING THE EMPLOYMENT AND RETENTION OF EPIQ CORPORATE
     RESTRUCTURING, LLC AS CLAIMS, NOTICING, AND SOLICITATION AGENT

             I, Kate Mailloux, under penalty of perjury, declare as follows:

             1.     I am a Senior Director with Epiq Corporate Restructuring, LLC (“Agent”), a

chapter 11 administrative services firm with offices located at 777 3rd Avenue, 12th Floor,

New York, New York 10017. Except as otherwise noted in this declaration (this “Declaration”),

I have personal knowledge of the matters set forth herein, and if called and sworn as a witness, I

could and would testify competently as follows.

             2.     I submit this Declaration in support of the above-captioned debtors’ (collectively,

the “Debtors”) Emergency Ex Parte Application for Entry of an Order Authorizing the

Employment and Retention of Epiq Corporate Restructuring, LLC as Claims, Noticing, and

Solicitation Agent, filed contemporaneously herewith (the “Application”).2




1
      A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://dm.epiq11.com/athenex. The location of Athenex, Inc.’s principal
      place of business and the Debtors’ service address in these Chapter 11 Cases is 1001 Main Street, Suite 600,
      Buffalo, NY 14203.
2
      A capitalized term used herein but not otherwise defined shall have the meaning ascribed to it in the Application.


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        3.       Agent represents the following:

                 (a)         Agent, its members, and employees are not and were not, within two years
                             before the date of the filing of these Chapter 11 Cases, creditors, equity
                             security holders, insiders, or employees of the Debtors;

                 (b)         Agent will not consider itself employed by the United States government
                             and shall not seek any compensation from the United States government in
                             its capacity as the Claims and Noticing Agent in these Chapter 11 Cases;

                 (c)         by accepting employment in these Chapter 11 Cases, Agent waives any
                             rights to receive compensation from the United States government in
                             connection with these Chapter 11 Cases;

                 (d)         in its capacity as the Claims and Noticing Agent in these Chapter 11 Cases,
                             Agent will not be an agent of the United States and will not act on behalf of
                             the United States;

                 (e)         Agent will not employ any past or present employees of the Debtors in
                             connection with its work as the Claims and Noticing Agent in these Chapter
                             11 Cases;

                 (f)         Agent is a “disinterested person” as that term is defined in section 101(14)
                             of the Bankruptcy Code with respect to the matters upon which it is
                             engaged;

                 (g)         in its capacity as Claims and Noticing Agent in these Chapter 11 Cases,
                             Agent will not intentionally misrepresent any fact to any person;

                 (h)         Agent shall be under the supervision and control of the Clerk with respect
                             to the receipt and recordation of claims and claim transfers;

                 (i)         Agent will comply with all requests of the Clerk and the guidelines
                             promulgated by the Judicial Conference of the United States for the
                             implementation of 28 U.S.C. § 156(c); and

                 (j)         none of the services provided by Agent as Claims and Noticing Agent in
                             these Chapter 11 Cases shall be at the expense of the Clerk.

        4.       I caused to be submitted for review by our conflicts system the names of all known

potential parties in interest (the “Potential Parties in Interest”) in these Chapter 11 Cases. The

results of the conflict check were compiled and reviewed by Agent professionals under my

supervision. Agent is not aware of any connection that would present a disqualifying conflict of


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interest. Should Agent discover any new relevant facts or connections bearing on the matters

described herein during the period of its retention, Agent will use reasonable efforts to promptly

file a supplemental declaration.

        5.       To the best of my knowledge, neither Agent, nor any of its professionals, has any

materially adverse connection to the Debtors, their creditors, or other relevant parties. Agent may

have relationships with certain of the Debtors’ creditors as vendors or in connection with cases in

which Agent serves or has served in a neutral capacity as claims and noticing agent or

administrative advisor for another chapter 11 debtor.

        6.       Agent discloses the following connections, each of which Agent believes does not

present an interest adverse to the Debtors.

        7.       Agent is a wholly owned subsidiary of Epiq Systems, Inc., which is corporate

parent to certain companies that provide integrated technology products and services to the legal

profession for electronic discovery, class action settlements, financial transactions, chapter 7 and

13 bankruptcy, litigation, and regulatory compliance. Given the legal and operational separateness

of Agent from its affiliates and the administrative nature of the services performed by such

companies, Agent does not believe that a conflict would arise solely from any relationship or claim

of an Agent affiliate or its corporate parent.

        8.       Epiq Systems, Inc. is a wholly owned subsidiary of Document Technologies, LLC

(“DTI”), a global legal process outsourcing company, which is an ultimate wholly owned

subsidiary of DTI Topco, Inc. (“DTI Topco”). DTI Topco is a privately-held entity with majority

ownership held by OMERS Administration Corporation (“OAC”), the administrator of the

OMERS pension funds, and it is managed by OMERS Private Equity Inc. (“OPE”, which together




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with OAC are referred to as “OMERS”), and funds managed by Harvest Partners, LP, (“Harvest”),

a leading private equity investment firm.

        9.       Neither OMERS nor Harvest are currently identified on the Potential Parties in

Interest list. However, the following disclosure is made out of an abundance of caution and in an

effort to comply with the Bankruptcy Code and Bankruptcy Rules.

        10.      Designees of OMERS and Harvest are members of the Board of Directors of DTI

Topco (“Parent Board Designees”). No designees of OMERS or Harvest are members of the Board

of Directors of DTI or Agent, or any other subsidiaries of DTI. Further, Agent has the following

restrictions in place (collectively, the “Barrier”): (i) prior to the Debtors commencing the Chapter

11 Cases, Agent did not share the names or any other information identifying the Debtors with

DTI, DTI Topco, OMERS, Harvest, or the Parent Board Designees; (ii) Agent has not and will not

furnish any material nonpublic information about the Debtors to DTI, DTI Topco, OMERS,

Harvest, or the Parent Board Designees; (iii) no DTI, DTI Topco, OMERS, or Harvest personnel,

including the Parent Board Designees, work on Agent client matters or have access to Agent client

information, client files, or client personnel; (iv) no DTI, DTI Topco, OMERS, or Harvest

personnel, including the Parent Board Designees, work in Agent’s offices; (v) other than the Parent

Board Designees, Agent operates independently from DTI, DTI Topco, OMERS, and Harvest,

including that it does not share any employees, officers, or other management with OMERS or

Harvest, has separate offices in separate buildings, and has separate IT systems; and (vi) no Agent

executive or employee is a director, officer, or employee of OMERS or Harvest (or vice versa

other than the Parent Board Designees).

        11.      Agent has searched the names of DTI, DTI Topco, OMERS, and Harvest against

the Debtors and the Potential Parties in Interest list provided by the Debtors. Based solely on the


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foregoing search, Agent has determined, to the best of its knowledge, that there are no connections.

Because of any applicable securities laws and the fact that Agent operates independently from

OMERS and Harvest, prior to the Petition Date, Agent was unable to investigate further with either

OMERS or Harvest, to the extent necessary, any potential or actual connection between either

OMERS or Harvest and the Debtors and the potential parties in interest.

        12.      I believe that Agent is a “disinterested person” as that term is defined in section

101(14) of the Bankruptcy Code.

                 Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct to the best of my information, knowledge, and belief.

Dated: May 14, 2023
                                               /s/ Kate Mailloux
                                               Kate Mailloux
                                               Senior Director
                                               Epiq Corporate Restructuring, LLC




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